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                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                                        STATE EX REL. COUNSEL FOR DIS. v. MOTTA
                                                   Cite as 298 Neb. 754



                          State     of    Nebraska ex rel. Counsel for Discipline
                                of the       Nebraska Supreme Court, relator,
                                          v. A lison H. Motta, respondent.
                                                       ___ N.W.2d ___

                                            Filed January 19, 2018.   No. S-17-602.

                    Original action. Judgment of public reprimand.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, K elch, and
               Funke, JJ.
                    Per Curiam.
                                     INTRODUCTION
                  This case is before the court on the conditional admission
               filed by Alison H. Motta, respondent, on November 16, 2017.
               The court accepts respondent’s conditional admission to the
               charge contained in the amended formal charges and enters an
               order of public reprimand.
                                             FACTS
                  On July 19, 2013, respondent was admitted to the practice
               of law in the State of Nebraska pro hac vice by order of the
               county court for Douglas County, Nebraska. Her admission
               was for appearing in the case of “State v. Anthony Garcia”
               (Garcia case), docketed in Douglas County Court as case No.
               CR13-17383 and in the district court for Douglas County as
               case No. CR13-2322. Anthony Garcia had been charged with
               committing four homicides. Respondent is also admitted to
               the practice of law in the State of Illinois. With respect to the
               Garcia case, at all relevant times, she was engaged in the prac-
               tice of law in Omaha, Nebraska.
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. MOTTA
                       Cite as 298 Neb. 754
   With respect to discipline, pursuant to Neb. Ct. R. § 3-302,
respondent is under the jurisdiction of the “District Two
Committee on Inquiry.” The matters alleged in the amended
formal charges were reviewed by said committee pursuant to
Neb. Ct. R. § 3-309(H) (rev. 2011). The committee determined
that there were reasonable grounds for discipline of respondent
and that a public interest would be served by the filing of for-
mal charges.
   On November 16, 2017, the Counsel for Discipline of the
Nebraska Supreme Court filed amended formal charges against
respondent. The amended formal charges consist of one count
against respondent arising from her extrajudicial statements to
the media regarding the Garcia case.
   The amended formal charges state that during the Garcia
case, on June 26, 2015, the trial court issued a protec-
tive order under seal regarding an unrelated 2007 homi-
cide known as the Blanchard homicide. The protective order
stated, “‘[N]o information or knowledge obtained [by the
State or Garcia] from the review [of the Blanchard homicide
evidence] may be used, disclosed, or referenced during prepa-
ration for trial, during trial, or for any other matter in this
[Garcia] prosecution.’”
   Shortly before trial of the Garcia case was scheduled to
commence on April 4, 2016, a suspect was arrested in the
Blanchard homicide. After the arrest of the suspect in the
Blanchard homicide and prior to the Garcia trial, respondent
made numerous statements to news media related to the sus-
pect in the Blanchard homicide indicating that it was the belief
of Garcia’s defense team that such suspect was involved in two
of the homicides for which Garcia stood charged. Omaha tele-
vision news station WOWT quoted respondent as saying, “‘By
cross-comparing the DNA evidence that they discovered at the
. . . Blanchard scene, DNA [of the suspect in the Blanchard
homicide] was at both scenes. I don’t see how they’re going
to explain the cross-over in the DNA and the existence of
both people at both crime scenes.’” Omaha television news
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           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
             STATE EX REL. COUNSEL FOR DIS. v. MOTTA
                        Cite as 298 Neb. 754
station KMTV quoted respondent as saying, “‘This evidence
conclusively exonerates . . . Garcia and shows that it can-
not be a coincidence the two manners of killing being sig-
nature like and the crossover between the two scenes of the
same two suspects.’” Respondent also made statements to the
Omaha World-Herald newspaper that the defense team hoped
that “‘we’ll get a call from the County Attorney’s office that
they’re dismissing those charges.’”
   Following respondent’s statements to the media, on March
30, 2016, the State moved for sanctions against her. On March
31, respondent and her out-of-state cocounsel jointly renewed
their motion for admission pro hac vice due to the withdrawal
of prior local Nebraska counsel. Following an April 4 hear-
ing, the trial court issued an order nunc pro tunc finding
that respondent violated the protective order regarding the
Blanchard homicide with her public dissemination of the DNA
results in the Blanchard homicide. The trial court further found
that respondent’s statements to news media violated Neb.
Ct. R. of Prof. Cond. § 3-503.6. The trial court disqualified
respondent from continued admission to practice and partici-
pate in the Garcia case pro hac vice.
   The amended formal charges allege that by her actions,
respondent violated her oath of office as an attorney licensed to
practice law pro hac vice in the State of Nebraska, as provided
by Neb. Rev. Stat. § 7-104 (Reissue 2012), as well as § 3-503.6
(trial publicity) and Neb. Ct. R. of Prof. Cond. § 3-508.4(a)
and (d) (misconduct).
   On November 16, 2017, respondent filed a conditional
admission pursuant to Neb. Ct. R. § 3-313(B) of the discipli­
nary rules, in which she conditionally admitted that she vio-
lated the oath of office of her pro hac vice admission as
an attorney and professional conduct rules §§ 3-503.6 and
3-508.4(a) and (d). In the conditional admission, respondent
states she did not knowingly or intentionally violate these rules
of professional conduct, but acknowledges and admits that her
conduct violated the identified rules of professional conduct.
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          Nebraska Supreme Court A dvance Sheets
                  298 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. MOTTA
                       Cite as 298 Neb. 754
Respondent knowingly does not challenge or contest the truth
of the matters conditionally admitted and waived all proceed-
ings against her in exchange for a public reprimand.
   The proposed conditional admission included a declaration
by the Counsel for Discipline stating that respondent’s pro-
posed discipline is appropriate and consistent with sanctions
imposed in other disciplinary cases with similar acts of mis-
conduct and will protect the public.
                         ANALYSIS
  Section 3-313, which is a component of our rules governing
procedures regarding attorney discipline, provides in perti-
nent part:
        (B) At any time after the Clerk has entered a Formal
     Charge against a Respondent on the docket of the Court,
     the Respondent may file with the Clerk a conditional
     admission of the Formal Charge in exchange for a stated
     form of consent judgment of discipline as to all or
     part of the Formal Charge pending against him or her
     as determined to be appropriate by the Counsel for
     Discipline or any member appointed to prosecute on
     behalf of the Counsel for Discipline; such conditional
     admission is subject to approval by the Court. The con-
     ditional admission shall include a written statement that
     the Respondent knowingly admits or knowingly does
     not challenge or contest the truth of the matter or mat-
     ters conditionally admitted and waives all proceedings
     against him or her in connection therewith. If a tendered
     conditional admission is not finally approved as above
     provided, it may not be used as evidence against the
     Respondent in any way.
  Pursuant to § 3-313, and given the conditional admission,
we find that respondent knowingly does not challenge or
contest the matters conditionally admitted. We further deter-
mine that by her conduct, respondent violated conduct rules
§§ 3-503.6 and 3-508.4(a) and (d) and the oath of office of
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          Nebraska Supreme Court A dvance Sheets
                  298 Nebraska R eports
            STATE EX REL. COUNSEL FOR DIS. v. MOTTA
                       Cite as 298 Neb. 754
her pro hac vice admission as an attorney in the State of
Nebraska. Respondent has waived all additional proceedings
against her in connection herewith. Upon due consideration,
the court approves the conditional admission and enters the
orders as indicated below.
                         CONCLUSION
   Respondent is publicly reprimanded. If respondent applies
to appear pro hac vice in a case pending in the state courts
of the State of Nebraska, she must disclose this discipline in
any such application. Respondent is directed to pay costs and
expenses in accordance with Neb. Ct. R. §§ 3-310(P) (rev.
2014) and 3-323 of the disciplinary rules within 60 days after
an order imposing costs and expenses, if any, is entered by
the court.
                                Judgment of public reprimand.
   Wright, J., not participating.
